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August 8, 2022

Honorable Judge J.P. Stadtmueller                                              ZDll \UG I 5 P 3: 5
United States District Court
Eastern District of Wisconsin
517 East Wisconsin Avenue
Milwaukee, WI 53202

Re: United States v. O'Neill
    Case No. 97-CR-98

Dear Judge Stadtmueller:

   My name is Robin Tellier. I am writing this letter on behalf of Kevin O'Neill in support of his motion
for compassionate release pending before the Court.

   I met Kevin in 2002 at the Leavenworth United States penitentiary in Kansas. I was a prisoner
back then serving a life sentence. I met Kevin in the law library where we both spent many years
studying law and helping numerous inmates litigate their cases. I have also spent time with him at the
Hazelton penitentiary. Since the beginning of both of our sentences we have spent decades helping
others. I was recently released and will be working as a paralegal at a law office starting in
September. I am a perfect example that shows people do change their lives around for the better and
deserve a second chance.

    I have first-hand knowledge of prison life after serving 30 years. I'd like to share some of that with
the Court so you can understand some of what transpires when defendants get to prison. There are
those who go to prison and do nothing to better themselves. Then, there are those with a life
sentence who just don't care and continue to get in trouble while in prison because they feel they have
nothing to lose. And lastly, there are those with a life sentence who have nothing to gain such as
good time credits, but better themselves. This is the person Kevin O'Neill is today. He has lived his life
in prison as if he goes home tomorrow. He has dedicated his life to helping others who have no
knowledge of the law. He does not get compensated by the prison for doing it. Most other jailhouse
lawyers charge inmates for work and usually they are just scamming other inmates. Kevin does it to
help others who are less fortunate and have no knowledge of the law. This demonstrates a lot about
his character in a place where others won't offer help to another unless there is a monetary gain, and
many will sell you toilet paper that they get from the prison for free.

    When sentencing defendants, the Court does not have a crystal ball that would tell you what a
particular inmate will accomplish years into his sentence and if he is rehabilitated. When a defendant
leaves the courtroom and the gates of prison close behind them it is very rare that the lawyers,
prosecutors or the courts will ever see or hear about that defendant again. No one knows what
happens to the defendant while he/she serves their sentence. Compassionate release motions now
allow the Courts to take a second look at the defendant as he stands today and see if he has changed
and what he has accomplished over the years.

  In this case, the Court can now look at the person Kevin O'Neill is today. You get a chance to look
back at all he has done since being incarcerated and make a proper determination if he is
rehabilitated and deserves another chance in life. You do not need a crystal ball to guess what type of

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person Kevin has become. His actions for the past 25 years demonstrate to the Court that he has met
all the goals of rehabilitation. Keeping him incarcerated no longer serves the purpose of rehabilitation.

   Some do not deserve the harsh sentences they have received. Kevin is definitely one of those
inmates. I am not sitting here condoning or downplaying the seriousness of the crimes for which he
was a part of. However, this is one of those circumstances where a person deserves a second
chance. I have lived around Kevin O'Neill and have first-hand knowledge as to how he lives his life.
He helps anyone in need. When an inmate has an institutional problem with grievances for medical or
other issues the staff actually direct that inmate to Kevin. Because they know he can be trusted to
guide the inmate in the right direction. This demonstrates to the Court as to the man Kevin is today
because even the staff trust in him to aid others.

    Prison is a very dangerous society. Kevin has been in some very dangerous prisons for the past
25 years. It is not easy avoiding trouble in these types of penitentiaries. Yet he maintained a positive
attitude and avoids trouble. This is not an easy task. And Kevin is serving a life sentence with no
possibility for any good time reduction even if he stays out of trouble. Yet, he avoids trouble . This
shows you the type of person he is today.

    During these past 3 years during the COVID-19 pandemic, life in prison has been very hard on all
inmates. They are constantly worried about their families. They were confined to the cell for many
months per year over the past 3 years. Movement was very limited for years. It was and continues to
feel punitive in nature. The medical staffs response to the spread of the pandemic was very poor.
They were completely unprepared and still are. At most, a few lucky inmates were provided Tylenol.
When the pandemic began , all the prisoners knew about the virus was through the news or from the
radio, and that thousands of people were dying from it. It was terrifying when the virus spread through
the prison. It spread quickly and many were locked in the cell with an infected person, getting infected
themselves. At the time, as a prisoner, I knew that the staff would do nothing to help me when I got
infected. And this is exactly what happened. Staff did nothing. They locked the cell door and left me
in there to survive or die. The same treatment many other prisons were given. During most of the
pandemic we had no communication with our families or children. And other times it had been very
limited. As I am sure you have read the case law and that the same happened to many prisoners
around the country, including Kevin.

   As you know, recidivism rates lower greatly with age. At Kevin's age the rate of recidivism is very
low. I truly believe he will be a productive member of society if released and he will be an asset to his
community. He also has a promising career as a paralegal once released. He has shown his family
and friends , the BOP and the Court, that he has improved his life and he is ready for society. The BOP
acknowledged this when they transferred him to a lower security institution. Kevin is ready to start a
new life and has a large family willing and ready to support him upon release. Kevin has a daughter
who has grown up without a father physically in her life. And, as she has expressed, although Kevin
did not have the death penalty, it is traumatizing for her to sit back and watch her father live out a slow
death sentence behind bars. His history for the past 25 years shows that Kevin O'Neill does not
deserve to die in prison.

   Thank you for your time and please consider all I have written. I am living proof that people
deserve a second chance , and so does Kevin O'Neill.

Sincerely,


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